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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------- x
MALCOLM, ET AL..,                                                 :                1/20/2021
                                            Plaintiffs,           :
                                                                  :
                 v.                                               :  1:20-cv-09641-ALC
                                                                  :  ORDER
CITY OF NEW YORK,                                                 :
                                                                  :
                                            Defendants.           :
                                                                  :
                                                                  :
----------------------------------------------------------------- :
                                                                  :x
ANDREW L. CARTER, JR., District Judge:

        In light of the Parties’ agreement that Plaintiffs will amend the Complaint no later than

February 15, 2021, the Court hereby DENIES Defendant’s request for pre-motion conference

without prejudice. The Clerk of Court is respectfully directed to close Dkt. No. 20.

SO ORDERED.
Dated: January 20, 2021
      New York, New York


                                                                ANDREW L. CARTER, JR.
                                                                United States District Judge
